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                           UNITED STATES DISTRICT COURT

                        FOR THE MIDDLE DISTRICT OF FLORIDA

 SFR SERVICES L.L.C., for itself and                  Case. No.: 8:22-cv-00109-KKM-
 AAO                                                  SPF
           Plaintiff,                                 DEMAND FOR A JURY
                                                      TRIAL
           v.

 UNITED PROPERTY & CASUALTY
 INSURANCE COMPANY, FKS
 INSURANCE SERVICES, LLC and
 PROPERTY LOSS SPECIALIST,
 LLC

           Defendants.

                                 AMENDED COMPLAINT

         Plaintiff SFR SERVICES, LLC (“SFR”) hereby sues Defendants UNITED

PROPERTY & CASUALTY INSURANCE COMPANY (“UPC”); FKS Insurance

Services, LLC (“FKS”), and PROPERTY LOSS SPECIALIST, LLC (“PLS”)

(collectively, “Defendants”) and demands a jury trial for all causes of action as

follows:

                                     INTRODUCTION

         1.        This is an action related to Defendants’ unlawful and unethical scheme

designed to systematically deny and underpay the claims submitted as a result of

Hurricane Irma under policies underwritten by UPC, no matter how badly people’s

roofs were damaged.

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         2.        SFR is a licensed Florida General Contractor with significant

experience restoring and repairing commercial and multi-family properties damaged

by hurricanes, windstorms, floods and fire. In addition to general contracting

services, SFR assists homeowners directly through the insurance claims process by

working with insurers. When a policyholder retains SFR, the policyholder executes

an assignment of benefits (“AOB”), assigning its rights under the insurance policy

to SFR. SFR then steps into the shoes of the policyholder, making the necessary

repairs and working through the claims process with the insurance carrier. An

example of an AOB is attached as Exhibit A.

         3.        In the wave of damage and insurance claims following hurricane Irma,

SFR has discovered that UPC was not honoring its insurance agreements.

         4.        In fact, UPC and each of FKS and PLS (FKS and PLS together are

“Adjuster Defendants”) conspired to lie and submit false reports and estimates for

the purpose of being able to deny or underpay insurance claims related to the storm’s

damage. FKS acted as an instrumentality of such scheme, including by sending out

a text at the behest of UPC instructing claims not be adjusted at all; PLS was induced

to so conspire because of the possibility purportedly being explored by UPC that it

would acquire PLS for substantial money.

         5.        SFR does not know the total number of homeowners and policyholders

impacted by this scheme but believes it to be in the thousands. SFR is the AOB


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holder for 200 (two hundred) such Florida homeowners with UPC insurance

policies, who were impacted both by Hurricane Irma and this scheme to deny or

underpay claims related to their property damage sustained (collectively, the

“Assignors”). A complete list of the underlying policyholders is attached as Exhibit

B. SFR brings this action on its own behalf and a/a/o the Assignors.

                                       THE PARTIES

         6.        Plaintiff SFR is a Florida Limited Liability Company with its principal

place of business located in Stuart, Florida. Its manager is Ricky McGraw.

         7.        Defendant UPC is a Florida corporation with its principal place of

business located in Saint Petersburg, Florida.

         8.        Defendant FKS is a Florida Limited Liability Company with its

principal place of business located in Saint Petersburg, Florida. It worked with UPC

as an adjuster during the relevant period and acted as an instrumentality of UPC in

its scheme by, among other actions, sending a text instructing adjusters not to adjust

roof damage.

         9.        Defendant PLS is a South Carolina Limited Liability Company with its

principal place of business located in Apopka, Florida. It worked with UPC as an

adjuster during the relevant period. During times relevant to this action, it was a

willing acquisition target of a purported acquisition by UPC, and its principals and




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owners Jeff Nachgriner and Andy Corbett were the target of a pressure campaign by

UPC aimed at undermining the legitimate adjusting process.

                               JURISDICTION AND VENUE

         10.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

because the lawsuit concerns a federal question arising under the Racketeer

Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §1961 et seq.

         11.       This Court may exercise supplemental jurisdiction over SFR’s state law

claims pursuant to 28 U.S.C. § 1367(a) because the remaining state law claims are

based upon a common nucleus of operative facts, as SFR’s federal claim and the

entire action commenced by this Complaint constitute a single case that would

ordinarily be tried in one judicial proceeding.

         12.       The Court has personal jurisdiction over UPC because it is a Florida

corporation, with a principal place of business in Florida, and because the events

giving rise to this action occurred within this state.

         13.       The Court has personal jurisdiction over FKS because it is a Florida

Limited Liability Company with its principal place of business in Florida, and the

events giving rise to this action occurred within this state.

         14.       The Court has personal jurisdiction over PLS because its principal place

of business is in Florida, and the events giving rise to this action occurred within this

state.


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         15.       Venue is appropriate in the Middle District of Florida because a

substantial part of the events or omissions giving rise to this action occurred within

the boundaries of this district.

         16.       Moreover, venue is appropriate here because UPC and Adjuster

Defendants are subject to personal jurisdiction in this district, and their respective

principal places of business are within the boundaries of this district.

                                     BACKGROUND

                              The Insurance Industry and SFR

         17.       UPC is a Florida domiciled property & casualty stock insurance

company located in St. Petersburg, Florida. Among other offerings, UPC provides

residential homeowner insurance policies, whereby UPC agrees to protect the

homeowner against certain losses. In exchange, the homeowner pays UPC a

monthly premium.

         18.       When calculating what premium to charge, insurance companies such

as UPC utilize sophisticated models to forecast and predict risk. These models take

certain criteria into account to evaluate this risk, such as the likelihood of a severe

weather event, and the cost to repair or replace an insured’s home.

         19.       But such models also take into account other human factors. For

example, insurance companies like UPC know that, when a severe weather event

occurs, not every policyholder will submit a claim for coverage, even if the insured


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is entitled to coverage under the terms of the policy. UPC also knows that, even

when a covered event occurs, and the policyholder submits the claim, many

individuals will be unable to assess whether UPC undervalued the extent of the

damage. And, if UPC wrongfully denies coverage, UPC knows that many insureds

will not turn to litigation to enforce their rights under a policy.

         20.       UPC’s goal is to maximize profit.

         21.       Policyholders whose claims are wrongfully denied are in a difficult

position. SFR’s role is to help them. In addition to providing general contracting

services, SFR’s clients assign the benefits under their insurance policies to SFR.

SFR then steps into the shoes of the policyholder. When a covered event causing

property damage (like a hurricane) occurs, SFR works through the claims process

for the homeowner, and if needed, litigates against the insurer.

         22.       This arrangement provides significant benefits to the underlying

policyholders, most of whom have little to no experience negotiating (let alone

litigating) against insurers. As the Florida Supreme Court has noted, “the average

policyholder has neither the finances nor the expertise to single-handedly take on an

insurance carrier.” Johnson v. Omega Ins. Co., 200 So. 3d 1207, 1215 (Fla. 2016).

         23.       SFR levels the playing field. Because SFR handles a high volume of

claims and has construction expertise, it has insight into whether the insurer is




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providing a fair estimate. In addition, SFR has the resources to litigate against

insurance carriers.

                           Hurricane Irma and Defendants’ Scheme

         24.       In September 2017, Hurricane Irma struck Florida as a category 4

hurricane with sustained windspeeds of over 140 miles per hour. Irma’s winds and

storm surge caused devastating levels of damage to Florida homes, businesses,

agriculture, and infrastructure.

         25.       This action arises in response to an unlawful and unethical scheme,

pursuant to which Defendants systematically caused legitimate claims of

policyholders affected by Irma to be undervalued or denied outright.

         26.       Following Irma, hundreds of thousands of Floridians suffered property

damage and submitted insurance coverage claims related to the damage.

         27.       Rather than pay out the indemnity benefits under the insurance policy

necessary to repair or replace covered losses as required under the policies,

Defendants utilized a scheme to deny or underpay the insureds who submitted claims

for damage to their properties caused by Irma.

         28.       Pursuant to the scheme utilized by Defendants, when one of UPC’s

insureds submitted a claim for coverage related to Irma, Defendants sent a field

adjuster to visit the property of UPC’s insured. The field adjusters were charged




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with generating reports and/or creating estimates and/or making coverage

determinations and valuations of the respective losses reported by the UPC insureds.

         29.       Instead of ensuring that field adjusters created honest, accurate reports

to confirm that UPC’s insured received an assessment that reflected their loss,

Defendants specifically instructed desk adjusters to modify the estimates created by

field adjusters to decrease estimates in order to ultimately decrease the amount of

money UPC pays to its insureds when claims are made under the insurance policies,

or to outright fail to find any damages whatsoever.               In many circumstances,

Defendants instructed field adjusters to modify reports to give UPC a “factual basis”

to deny coverage altogether. Defendants pressured adjusters to create factual bases

that were fraudulent in order to deny claims. After a time, Defendants also instructed

field adjusters as a matter of policy to fail to write up any damages whatsoever and

leave them blank so that UPC’s own desk adjusters could manufacture reasons to

deny the claims.

         30.       As this scheme has come to light, some field adjusters have stated under

oath that UPC commanded them to add language to their reports which was

inaccurate and outright false, or to otherwise fail to document damages altogether.

         31.       For example, Rod Buvens, a field adjuster acting on behalf of UPC

through PLS following Irma, testified at deposition on or about August 8, 2020, that

UPC’s desk adjuster instructed him to add language into his report “[t]hat no wind


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damages were observed upon inspection” at the property at issue, despite this

language being categorically false based upon Mr. Buvens’ own inspection of a

property. See attached Exhibit E at 59:23 – 64:12. PLS echoed the demand. This

testimony concerned an SFR matter.

         32.       Relating to homes damaged by Irma, Mr. Buvens advised UPC’s desk

adjuster, Josh DeMint, numerous times that the statement “no wind damages were

observed upon inspection” was incorrect multiple times; yet, Mr. Buvens was still

required to include the categorically false statement in his report at the demand and

instruction of UPC. Id.

         33.       Further, Mr. Buvens testified that UPC demands its field adjusters

remove items from an estimate, which ultimately results in UPC owing less to its

insureds.

         34.       For example, Mr. Buvens testified that he was specifically instructed to

remove portions of his estimate, which would have amounted to an additional

$1,376.30 that UPC would have owed pursuant to the insurance policy. Moreover,

if Mr. Buvens’ report and estimate were not wrongfully modified by UPC, the

insured in this specific instance would have obtained a full roof replacement, which

would have cost UPC thousands of dollars more pursuant to the insurance policy.

Id. at 68:7 – 71:4.




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          35.       Moreover, Mr. Buvens testified that his reports were often changed by

 desk adjusters without his consent:


          Q.     (By Ms. Sabatino) So, you did not sign this particular report, is
          that your testimony?

          A.     That is a mechanical signature that is stored in the report. When
          you hit print -- if you go in there and hit print today, my signature will
          appear on it unless it is manually changed. It is locked in with the
          settings of the Estimator that is assigned to that report. That's correct.
          It is my signature but anyone at UPC can and they have changed
          these reports and left my signature on them.

 Id. at 102:23 – 103:7 [emphasis added].

          36.       Indeed, Mr. Buvens testified on August 28, 2020, that UPC had a

 pattern and practice of imposing fraudulent and deceptive changes to independent

 adjuster work and that he was instructed to go against his statutory duties, ignore

 damages, and thus render false statements in his reports over more than 180 times:

          Q.     (By Mr. Tolley) . . . . Is there anything else that they told you to do or
          not to do that you felt uncomfortable with?

          A.    That’s going to be a long list and it’s probably going to involve other
          claims besides this one and Ms. Sabatino is probably going to object to that.

 Id. at 70:23 – 71:4

          Q.     (By Mr. Tolley) But there are other instructions that they gave you or
          told you to do or not to do on any other claims that affected your ability to
          adjust this claim?

                      Ms. Sabatino:     I’m going to object to form. And, Mr.
          Buvens, I mean, I would appreciate if you would just answer as it relates to
          this claim.

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          Q.     (By Mr. Tolley) Mr. Buvens, I believe you have to answer, you know,
          truthfully. You are under oath, so.

          A.     Yes. Under the constantly changing claim-handling practices 23 or 24
          different processes that I’m aware of, there were several instances where they
          asked licensed field adjusters to go against their statutory duties to handle
          claims in good faith with the policyholders.
                 Those include ignoring damages, ignoring mitigation amounts that the
          insured provided evidence of payment, removing estimates that the field
          adjuster wrote so that they could use snider roofing comparative estimates and
          therefore underpay the field adjuster for the agreed upon fee schedule, treating
          the independent field adjusters as employees.
                 I don’t know how you would fire a 1099 employee without them being
          an employee of a corporation but they did it, basically strong-arming the IA
          firms and the independent adjusters into handling the claim 100%.

          Q.     On this case was this one of the only times you were asked to include a
          false narrative in your report that you did not agree with by the Defendant?

                    Ms. Sabatino: Objection, form.

          A.        No.

          Q.    (By Mr. Tolley) How many times would you say you were asked to
          include something that you didn’t believe to be true in your report?

                    Ms. Sabatino: Objection, form.

          A.    I don’t really have a way to count that at this time. I’m preparing you
          a spreadsheet to include all of those instances.

          Q.    (By Mr. Tolley) Okay. Let’s put it this way; would you say it was over
          110 times?

          A.        Over.

          Q.        Over 150 times?

          A.        Over.

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          Q.        Over 180 times?

          A.        Over.

 Id. at 72:11 - 74:7.

          37.       As Mr. Buvens further testified, such instructions to falsify reports as a

 pattern and practice came both through PLS, and through UPC directly, respecting

 UPC claims:

          Q.     Okay. And these changes – these instructions, specifically the ones
          dealing with putting false, you know, false statements in your narrative, those
          were the directives of the insurance carriers themselves or the independent
          adjusting firm?

                    Ms. Sabatino: Objection, form.

          Q.        (By Mr. Tolley) You can answer.

          A.     They were not consistent with the IA firms’ handling on other carriers.
          So, I can only conclude that they came from UPC. Plus I got the directive
          directly from the people who I believe to be managers and employees at UPC.

          Q.    And that – some of those direct instructions specifically in this case
          with regard to the false statement that there was no windstorm damage
          observed, that was actually directly from an employee of the Defendant,
          correct?

                    Ms. Sabatino: Objection, form.

          A.        Yes, directly.

 Id. at 75:14 – 76:7.




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          38.       Mr. Buvens exposure to UPC’s practices was broad, involving what he

 estimated to be “well over 1000” claims. Id. at 90:3 – 7.

          39.       In another example, Niles Wood, an adjuster retained by UPC through

 PLS following Irma, adjusted damage related to a roof for an insured in St.

 Petersburg, Florida. Mr. Wood’s report estimated that the cost to repair covered

 damages for the roof related to wind damage from Irma was $59,037.30. A copy of

 the report is attached as Exhibit C.

          40.       At UPC’s instruction, Mr. Wood was required to modify the report to

 state that the same roof only sustained $3,354.34 in covered loss related to wind

 damage from Irma. A copy of the second report is attached at Exhibit D.

          41.       UPC recorded the change in amount as a “correction” to the estimate.

 UPC claimed (contrary to the field adjuster’s actual reporting) that roof damage was

 not caused by wind from Irma and thus not covered. This was simply a lie told by

 UPC to underpay the value of the claim.

          42.       Defendants’ wrongful actions were not limited only to a few specific

 claims, nor were they isolated specifically to the hundreds of claims handled by Mr.

 Buvens or claims handled by Mr. Wood. Instead, upon information and belief, UPC

 has artificially decreased estimates, or modified estimates as to pretextual warrant a

 denial of coverage, in hundreds of instances for which SFR has been assigned the

 benefits.


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          43.       Among the co-conspirators involved in this scheme to depreciate

 UPC’s insureds’ valid claims were FKS and PLS and Mid-American Claims; along

 with UPC’s Claim Director Jeff Bergstrom; UPC’s claims managers Tim Cotton,

 Brian Maries and Trevor McDonald; and desk adjuster Josh DeMint of FKS.

          44.       FKS buckled under pressure from UPC to instruct its field adjusters to

 low ball its adjusting, and it did so repeatedly. Notably, this campaign to have its

 field adjusters low ball estimates was manifested, by, among other actions, sending

 a text at UPC’s instruction (“FKS Text”) to several field adjusters instructing them

 not to estimate certain roof damages because UPC would be issuing blanket denials,

 even though that would – understandably – increase the rate of litigation. The text

 instructed field adjusters to state in their reports that they “cannot determine cause

 of loss” on “any late reported Irma claims,” and that “any re-open claims of Irma”

 will be denied, and no estimating will be necessary on these claims:




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                    (Part 1 of 2)                               (Part 2 of 2)



          45.       The instructions from FKS, sent on behalf of UPC, had a predictable

 effect: field adjusters complied.




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          46.       For instance, on January 18, 2022, a field adjuster named Theodore

 Fiocati was deposed in a case involving UPC and FKS (Exhibit F at 19:1 – 9; 20:24

 – 21:7).

          47.       Mr. Fiocati testified that he was on a phone call in 2020 with

 representatives of FKS and UPC and other field adjusters for FKS, covering the

 ground covered in the above FKS Text. Id. at 72:8-12; 55:24 – 57:21. He was told

 to avoid determining the cause of a loss and instead forward to the desk adjuster for

 further handling. Id. at 54:13-55:2.

          48.       Mr. Fiocati confirmed that he followed the instructions. Id. at 72:17-

 21. He complied with the instructions, even though he admitted that it made him

 “feel uncomfortable:”

          Q.    Okay. And, you know, talking a little bit about those instructions, did
          it make you feel uncomfortable to follow those instructions?

          A.    Yeah, I thought – well, I thought I was – just documented damages and
          everything was getting taken care of by the – you know, file handlers. That
          was kind of where I was at with it. I thought we were just getting ears and
          eyes for the in house desk adjusters.

          Q.        Obviously, that turned out to be true, correct?

          A.        Correct.

 Id. at 70:23-71:7

          49.       The source of the discomfort at deposition was clear. The desk adjuster

 made observations unsupported by Mr. Fiocati’s own report. Id. 66:10 – 66:24. Mr.


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 Fiocati himself only indicated that he could not find damage to the roof in question

 because he had been instructed to do so. Id. 67:17 – 68:18. Indeed, Mr. Fiocati

 confirmed that he could not rule out that wind damaged the roof in question. Id. at

 41:1 – 10. Mr. Fiocati confirmed that the ethical guidelines and procedures in such

 a circumstance would require him to make a determination benefiting the Insured

 (the opposite of what ultimately happened.) Id. at 41:19-42:14; 48:7 – 49:14. Had

 he been permitted to act as a field adjuster absent instruction from FKS and UPC, he

 would have written an estimate for scope of damages; the ultimate finding by UPC

 and FKS was something that he disagreed with. Id. at 52:6 – 53:4. The right thing

 wasn’t done; the claim in question should have been covered, but wasn’t. Id. 73:12

 – 25. In short, UPC and FKS created a procedure that allowed them to fraudulently

 deny coverage to the insured.

          50.       Crucially, Mr. Fiocati testified that he alone handled “probably say

 over 100” claims effected by the instructions above.                Id. at 62:18 – 63:4.

 Furthermore, other adjusters were given the same instructions that he was given. Id.

 at 63:2 – 4.        In fact, the instructions to avoid finding a cause of loss, and instead

 refer the matter to the desk adjuster for determination, applied not just to “late

 reported claims,” but to claims that were timely reported but reopened. Id. at 63:19

 – 64:4.




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          51.       In short, the practice was systematic, pervasive, unethical, unlawful–

 and fraudulent. It involved many, many field adjusters.

          52.       PLS was also susceptible to this scheme, and was induced to participate,

 insofar as UPC and its principals had styled themselves as potential purchasers of

 PLS for a substantial sum, and PLS accordingly did not want to take any actions

 contrary to the scheme for fear of compromising that potential deal. PLS’s principals

 and owners Jeff Nachgriner and Andy Corbett were the target of a pressure campaign

 by UPC aimed at undermining the legitimate adjusting process.

          53.       Mr. Wood and Mr. Buvens, whose testimony was cited above, were

 each associated with PLS.

          54.       Lest there be any doubt, UPC did not just instruct field adjusters with

 PLS or FKS to fail to perform their jobs adequately. This practice was pervasive in

 the claims UPC handled throughout Florida.

          55.       To wit, on January 20, 2022, field adjuster Lari Piscitelli was deposed

 about yet another claim handled by UPC. See Exhibit G. Mr. Piscitelli worked at

 the time for Mid-American Claims. He testified that he alone believed he handled

 some 150 – 200 claims for UPC through Mid-American Claims. Id. at 16:12-14.

          56.       As with Mr. Fiocati through FKS, Mr. Piscitelli attended a meeting with

 UPC through Mid-American Claims where he, and all other field adjusters with Mid-

 American Claims handling any UPC claims, were instructed how not to document


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 claims for UPC. (“The Mid-American Online Meeting.”) Id. at 17:22 – 22:17. At

 that meeting and thereafter, Mr. Piscitelli and other adjusters were instructed to in

 fact avoid doing their jobs:

          A.     We had a meeting at night and everybody was on the meeting and it
          was verbally discussed. I believe some people from UPC was there, but I
          can’t tell you exactly who was in the meeting. It was mostly adjusters, and it
          was at night and they basically said that they were going to deny everything
          for late reporting and not to write the word damage, say the word damage.

 Id. at 18:23 – 19:5.

          57.       Mr. Piscitelli stated that he was instructed by UPC that “[t]hey were

 denying everything for late reporting. Just take pictures and send over a report.” Id.

 at 20:14-16. Indeed this proved true:

          Q.     Okay. So it didn’t matter the circumstances. If it was a late reported
          Hurricane Irma claim, you had, you know, 70% of the roof is blown off by
          Irma, it was going to be denied?

                    Mr. Dempsey:        Objection.

          A.        It didn’t matter.

 Id. at 24:2 – 7.

          58.       Furthermore, “[e]verybody that worked UPC claims for Mid-America

 was in the meeting.” Id. at 22:1-2. He estimated that “it would probably be

 anywhere between 20 and 60 people in that room. Mid-America is pretty good size.”

 Id. 22:13-17. Remember that Mr. Piscittelli alone handled some 150 – 200 claims




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 for UPC through Mid-American Claims. Id. at 16:12-14. Everybody from Mid-

 America Claims received the same instructions at that meeting from UPC.

          59.       Mr. Piscittelli admitted that the practice UPC forced him and other field

 adjusters to engage in was not permitted:

          Q.     Okay. And blanketly denying claims no matter what, is that something
          that you can do as a licensed adjuster?

          A.        No.

          Q.        Okay. And that is what UPC was doing in claims like this; correct?

          A.        Correct.

 Id. at 28:12 – 18.

          60.       This is not a mere dry recitation of unlawful patterns and practices with

 nary a victim. The impact upon homeowners -- the AOB’s herein and the thousands

 upon thousands of homeowners affected otherwise – is profound. Field adjusters

 know this, and so the impact on field adjusters who have been forced to participate

 in UPC’s unlawful scheme is also profound:

          Q.     (By Mr. Tolley) Okay. And knowing that you would have written for
          a full roof replacement but you weren’t allowed to, how did that make you
          feel?

          A.        I quit working daily claims because of UPC.

          Q.        And I kind of think its self explanatory –

          A.    Thirteen years. Thirteen years. Thirteen years I worked claims and
          never had to go through this.


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          Q.    When you say you quit because of UPC, what about UPC made you
          quit?

          A.    We weren’t allowed to write any damages. Everything was being
          denied.

          Q.        And when did you quit working for UPC – or with UPC?

          A.    Probably shortly after this. I don’t know the exact date that I quit. They
          asked me not to leave, but I just couldn’t take it anymore.

 Id. at 34:14 – 35:4.

          61.       The above scheme was pure and simple fraud upon Plaintiff (and

 others). The above and additional similar violations of Florida law caused damages

 to SFR in the form of underpaid and unpaid claims, which should have been covered

 and fully paid.

          62.       By the same token, Defendants wrongfully profited from the scheme to

 the detriment of UPC’s insureds and SFR.

          63.       Furthermore, Defendants’ scheme repeatedly, systematically, as a

 matter of policy and practice, violated Fla. Stat. § 626.951 et seq., including each of

 Fla. Stat. § 626.9541(1)(i) subsections (2), (3)(a), (3)(b), (3)(d) and (3)(f).

          64.       Upon information and belief, the evidence gathered thus far by SFR is

 only the tip of the iceberg into this fraudulent scheme to improperly document,

 underpay and wrongfully deny valid claims. SFR believes this fraud is widespread

 and impacting all of Assignors’ insurance policies underwritten by UPC, for which

 SFR is entitled to bring this action.

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                        CAUSES OF ACTION
       FIRST CAUSE OF ACTION – VIOLATIONS OF 18 U.S.C. § 1962(c)

                                  (Against All Defendants)

                                          Enterprise

          65.       SFR incorporates by reference allegations 1-64 contained in this

 Complaint, as if fully set forth herein.

          66.       Based on SFR’s current knowledge, the following constitute one or

 more groups of persons and entities associated in fact, hereinafter referred to as the

 “Enterprise”: Defendants UPC, FKS, and PLS, and other persons, including but not

 limited to UPC’s Claim Director Jeff Bergstrom; UPC’s claims managers Tim

 Cotton, Brian Maries and Trevor McDonald; and desk adjuster Josh DeMint of FKS;

 and Mid-American Claims.

          67.       Enterprise is an ongoing and continuing organization consisting of

 Defendants, entities and individuals associated for the common or shared purpose of

 enabling UPC to underpay and deny homeowners’ claims under insurance policies

 underwritten by UPC through deceptive and misleading reports and deriving profits

 from those activities.

          68.       Defendants, through Enterprise, have engaged in a pattern of

 racketeering activity, which involves a fraudulent scheme and conspiracy to provide

 the insureds with false reports for the purpose of underpaying and denying their valid

 claims, which should be covered and fully paid.             The collective actions of

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 Defendants and co-conspirators are related to one another and establish a pattern of

 racketeering activity as they have a similar purpose, similar methods and similar

 victims.

          69.       Enterprise engages in and affects interstate commerce because it

 involves activities across state boundaries, such as sending false communications

 through channels of interstate commerce and deriving illegal profits from this

 scheme.

          70.       Within Enterprise, there is a common communication network by

 which co-conspirators share information on a regular basis. The Enterprise uses this

 common communication network for the purpose of coordinating the activities

 designed to underpay and deny valid claims.

          71.       Enterprise has a systematic linkage because there are contractual

 relationships, financial ties and continuing coordination of activities. Through

 Enterprise, Defendants and other co-conspirators engage in consensual decision-

 making to implement their fraudulent scheme and to function as a continuing unit

 for the common purpose of deriving profits from their unlawful activities.

          72.       The Enterprise functions as a continuing unit with the purpose of

 assisting with perfecting and furthering their wrongful scheme to derive profit from

 its unlawful activities.

          73.       While Defendants participate in and are members of Enterprise, they


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 also have their own respective separate and distinct existence.

           74.      Defendants engage in unlawful activities by causing field and desk

 adjusters to create false reports to defraud SFR and other holders of valid claims, by

 underpaying and denying valid claims, and by rewarding field and desk adjusters

 with paying them “much more quickly,” among other things.

           75.      At all relevant times, each participant in Enterprise was aware of the

 scheme to defraud SFR and other holders of valid claims for the purpose of reaping

 profit.

           76.      Enterprise has an ascertainable structure separate and apart from the

 pattern of racketeering activity in which Defendants have engaged.

           77.      UPC has directed and controlled the ongoing organization necessary to

 implement its scheme and illicit business practices at meetings and through

 communications, of most of which SFR cannot now know because all such

 information lies in Defendants’ hands.

           78.      Enterprise derived income from a pattern of racketeering activity.

                                        RICO Conspiracy

           79.      Defendants have not undertaken the practice described herein in

 isolation but as part of a common scheme and conspiracy.

           80.      Defendants have engaged in a conspiracy to generate additional profits

 by underpaying and denying valid claims through preparation and presentation of


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 false reports.

          81.       The objects of the conspiracy are: (1) to have adjusters prepare false

 reports or blank reports which are then falsified regarding the causes and the extent

 of damage; (b) to underpay or deny valid claims by utilizing false reports; and (c) to

 maximize profit of Defendants.

          82.       To achieve these goals, UPC instructed Adjuster Defendants PLS and

 FKS, Mid-American Claims, and field and desk adjusters to prepare false reports or

 blank reports which could then be falsified.

          83.       Defendants and each member of the conspiracy, with knowledge and

 intent, have agreed to the overall objectives of the conspiracy and participated in the

 common course of conduct to commit acts of fraud and indecency in preparing false

 reports and presenting them to claimholders in order to deny or underpay valid

 claims.

          84.       Indeed, for the conspiracy to succeed, Defendants and each co-

 conspirator had to agree to implement and use similar devices and fraudulent tactics

 against their intended targets.

          85.       Many instances of common conduct, activity and similar facts evidence

 the presence of a conspiracy, which exists among Defendants and other co-

 conspirators, including, but not limited to, agreements between and among

 Defendants and their co-conspirators to prepare false reports or blank reports that


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 could be falsified and to deny or underpay valid claims based on such false reports.

          86.       As a direct and proximate result of the conspiracy and Defendants’

 racketeering activities, SFR sustained damages.

                                  Use of the Mails and Wires

          87.       Defendants and co-conspirators used interstate mail and telephone to

 communicate with insureds and claim holders who made claims for damages

 pursuant to insurance policies underwritten by UPC.

          88.       Defendants and co-conspirators utilized the mail and wires to

 perpetuate their fraud by sending communications to each other and the claim

 holders via U.S. Mail, commercial carrier, wire, or other interstate electronic media

 throughout the relevant period.

          89.       Among other actions, Defendants and co-conspirators caused a text to

 be sent in 2020, the FKS Text, setting forth a scheme to pervasively create false

 reports, and followed up with a group phone call to field adjusters with FKS, and

 also caused an online meeting to be held, The Mid-American Online Meeting, also

 setting forth a scheme to pervasively create false reports, in furtherance of the

 conspiracy.

          90.       Defendants and co-conspirators have communicated false reports by

 U.S. Mail and electronic mail in furtherance of their scheme.

          91.       Defendants’   and   co-conspirators’   misrepresentations,   acts   of


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 concealment and omissions were knowing and intentional and made for the purpose

 of deceiving SFR and other valid claim holders.

          92.       Defendants and co-conspirators either knew or recklessly disregarded

 that their misrepresentations and omissions in the reports were material, and that

 they were relied upon by SFR and other valid claim holders.

          93.       Defendants engaged in racketeering activity pursuant to a scheme

 designed to wrongfully deny valid insurance claims following Hurricane Irma and

 committed mail fraud under 18 U.S.C. §1341 and wire fraud under 18 U.S.C. §1343

 as part and parcel of the scheme.

          WHEREFORE, SFR demands judgment against Defendants for three-fold the

 damages sustained by SFR, including for the value of a proper and accurate

 adjustment, all covered losses with interest on overdue payments, costs, and

 attorneys’ fees owed under federal and Florida law, and any other and further relief

 this Court deems just and proper.

             SECOND CAUSE OF ACTION – BREACH OF CONTRACT

                                        (Against UPC)

          94.       SFR incorporates by reference allegations 1-64 contained in this

 Complaint, as if fully set forth herein.

          95.       Each Assignor had a policy of insurance underwritten by UPC that was

 in full force and effect when the covered property was damaged by Irma.


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          96.       Each Assignor executed a valid AOB, assigning rights under the policy

 to SFR.

          97.       Through the AOB, SFR is entitled to bring a breach of contract action

 for each policy breached by UPC by way of UPC’s systematic and fraudulent

 underpayment and nonpayment of valid claims.

          98.       SFR, and the Assignors before it, have complied with all obligations

 under each policy of insurance.

          99.       UPC failed to comply with the policies by failing to properly and

 accurately investigate, inspect, adjust, document, and pay the covered claims in

 accordance with the policies and Florida law.

          100. UPC’s breach of contract has caused damage to SFR because the claims

 submitted under the policies were not properly and fairly investigated, reported,

 adjusted, documented and paid according to the terms of the policies. SFR is further

 entitled to interest, costs, and attorneys’ fees.

          WHEREFORE, SFR demands judgment against UPC for the value of a proper

 and accurate adjustment, all covered losses with interest on overdue payments, costs,

 and attorneys’ fees owed under Florida law including F.S. 627.428 et seq., and any

 other and further relief this Court deems just and proper.

                           THIRD CAUSE OF ACTION – FRAUD

                                   (Against All Defendants)


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          101. SFR incorporates by reference allegations at paragraphs 1-64 contained

 in this Complaint, as if fully set forth herein.

          102. Defendants and their co-conspirators as a matter of policy knowingly

 created, or caused to be created, false adjusting reports and/or engineering reports

 related to claims for coverage submitted in connection with properties that suffered

 damage from Hurricane Irma.

          103. For example, Defendants specifically instructed adjusters creating said

 reports to state that certain properties had not sustained wind damage from Irma, or

 that damage to a property was not caused by Irma, or to abstain from documenting

 damages altogether so that reports could be falsified. In reality, Defendants knew

 that the given properties had sustained covered loss as a result of Irma.

          104. SFR is informed and believes that this fraud was most commonly used

 to underpay or deny coverage for damage to roofs. However, the full extent of

 Defendants’ fraud is not yet known to SFR.

          105. SFR relied on Defendants’ fraudulent reports and their communications

 based on the same, which falsely stated that the adjuster had determined a given

 property had not sustained a covered loss, or omitted a finding that a property had

 sustained a covered loss (such as omitting findings that a given roof was damages

 by winds from Irma), in accepting less insurance proceeds than it was entitled to

 under the policy.


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          106. The fraudulent statements and omissions by Defendants were material

 to SFR because they impacted coverage determinations, the scope of work

 performed by SFR, and SFR’s decision-making process regarding pursuing a claim

 for coverage or not.

          107. SFR was defrauded as a result of UPC’s misrepresentations and

 omissions, as set forth above.

          108. As a direct and proximate cause of Defendants’ wrongful conduct, SFR

 has been damaged due to the failure of UPC to pay for covered repairs and

 replacement in an amount to be fully determined at trial.

          WHEREFORE, SFR demands judgment against Defendants for the value of

 a proper and accurate adjustment, all covered losses with interest on overdue

 payments, costs, and attorneys’ fees owed under Florida law, and other and further

 relief that this Court deems just and proper.

    FOURTH CAUSE OF ACTION – VIOLATION OF FLORIDA UNFAIR
    INSURANCE TRADE PRACTICE ACT, FLA STAT. § 626.951 ET SEQ.,
         SPECIFICALLY FLA. STAT. § 626.9541(1)(i) subsection (2)

                                    (Against UPC)

          109. SFR incorporates by reference allegations 1-64 contained in this

 Complaint, as if fully set forth herein.

          110. Florida’s Unfair Insurance Trade Practices Act (“FUITPA”), Fla. Stat.

 § 626.951 et seq. was enacted to regulate the business of insurance in the state and


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 define such practices in the state which constitute unfair methods of competition or

 unfair or deceptive acts or practices, and prohibit such practices. Fla. Stat. §

 626.951(1).

          111. FUITPA defines “person” to mean “any individual, corporation,

 association, partnership, reciprocal exchange, interinsurer, Lloyds insurer, fraternal

 benefit society, or business trust or any entity involved in the business of insurance.”

 Fla. Stat. § 626.9511(1). “Insurance policy” or “insurance contract” means a written

 contract of, or a written agreement for or effecting, insurance, or the certificate

 thereof, by whatever name called, and includes all clauses, riders, endorsements, and

 papers which are a part thereof. Fla. Stat. § 626.9511(2).

          112. UPC is a “person” under the meaning of the statute.

          113. SFR is the assignee-in-interest for each insurance policy for every

 Assignor identified in Exhibit B.

          114. Florida law permits SFR to enforce all statutory, common law, and

 contractual remedies that would otherwise be available to the policyholder through

 a valid AOB.

          115. FUITPA definition of an unfair method of competition and unfair or

 deceptive acts or practice includes, but is not limited to:

                    (i) Unfair claim settlement practices.—

                                2. A material misrepresentation made to an insured or any
                    other person having an interest in the proceeds payable under such

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                    contract or policy, for the purpose and with the intent of effecting
                    settlement of such claims, loss, or damage under such contract or policy
                    on less favorable terms than those provided in, and contemplated by,
                    such contract or policy;


 Fla. Stat. § 626.9541(1)(i).

          116. UPC’s conduct, as described herein, meets the definition of an unfair

 claim settlement practice under Fla. Stat. § 626.9541(1)(i) subsection (2).

          117. UPC willfully violated the above provision.

          118. Among other actions, UPC made it a practice to instruct field adjusters

 to modify their reports to materially misrepresent the nature, scope, and scale of

 damages, or otherwise leave them blank so that they could be so modified. Mr.

 Buvens, Mr. Fiocati, and Mr. Piscitelli each testified that this happened as a matter

 of policy in claims that they handled, and the claims that they handled exceeded a

 thousand, and that other peer field adjusters were so instructed. Among other items,

 field adjusters were so instructed by the FKS text, a subsequent phone call, and The

 Mid-American Online Meeting.

          119. Among other actions, UPC also made it a practice to change field

 adjuster reports without the knowledge of field adjusters to materially misrepresent

 the nature, scope, and scale of damages. Mr. Buvens, Mr. Fiocati and Mr. Piscitelli

 each testified that this happened as a matter of policy in claims that they handled,




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 and the claims that they handled exceeded a thousand, and that others were so

 instructed and affected.

          120. FUITPA provides that any person who violates any provision may be

 fined up to $40,000 for each willful violation, up to an aggregate amount of $200,000

 for all willful violations arising out of the same action. Fla. Stat. § 626.9521(2).

          121. Each report that was modified by UPC or at UPC’s instruction to add

 false information or to omit material information impacting valuation and denials of

 claims constitutes a separate action under FUITPA.

          122. FUITPA provides that any remedy under that Act is cumulative to

 rights under the general civil and common law. Fla. Stat. § 626.9631.

          WHEREFORE, SFR demands judgment against UPC for the value of a proper

 and accurate adjustment, all covered losses with interest on overdue payments, costs,

 and attorneys’ fees owed under Florida law including F.S. 627.428 et seq., and other

 and further relief this Court deems just and proper.

      FIFTH CAUSE OF ACTION – VIOLATION OF FLORIDA UNFAIR
    INSURANCE TRADE PRACTICE ACT, FLA STAT. § 626.951 ET SEQ.,
         SPECIFICALLY FLA. STAT. § 626.9541(1)(i) subsection (3)(a)

                                    (Against UPC)

          123. SFR incorporates by reference allegations 1-64 contained in this

 Complaint, as if fully set forth herein.




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          124. Florida’s Unfair Insurance Trade Practices Act (“FUITPA”), Fla. Stat.

 § 626.951 et seq. was enacted to regulate the business of insurance in the state and

 define such practices in the state which constitute unfair methods of competition or

 unfair or deceptive acts or practices, and prohibit such practices. Fla. Stat. §

 626.951(1).

          125. FUITPA defines “person” to mean “any individual, corporation,

 association, partnership, reciprocal exchange, interinsurer, Lloyds insurer, fraternal

 benefit society, or business trust or any entity involved in the business of insurance.”

 Fla. Stat. § 626.9511(1). “Insurance policy” or “insurance contract” means a written

 contract of, or a written agreement for or effecting, insurance, or the certificate

 thereof, by whatever name called, and includes all clauses, riders, endorsements, and

 papers which are a part thereof. Fla. Stat. § 626.9511(2).

          126. UPC is a “person” under the meaning of the statute.

          127. SFR is the assignee-in-interest for each insurance policy for every

 Assignor identified in Exhibit B.

          128. Florida law permits SFR to enforce all statutory, common law, and

 contractual remedies that would otherwise be available to the policyholder through

 a valid AOB.

          129. FUITPA definition of an unfair method of competition and unfair or

 deceptive acts or practice includes, but is not limited to:


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                    (i) Unfair claim settlement practices.—

                                3. Committing or performing with such frequency as to
                          indicate a general business practice any of the following:

                                 a. Failing to adopt and implement standards for the proper
                          investigation of claims;


 Fla. Stat. § 626.9541(1)(i).

          130. UPC’s conduct, as described herein, meets the definition of an unfair

 method of competition and unfair or deceptive act under Fla. Stat. § 626.9541(1)(i)

 subsection (3)(a).

          131. UPC willfully violated the above provision of FUITPA.

          132. Among other actions, UPC made it a practice to instruct field adjusters

 to modify their reports to materially misrepresent the nature, scope, and scale of

 damages, which as a matter of practice represented a flawed standard and an

 inherently improper investigation of claims.

          133. Mr. Buvens, Mr. Fiocati and Mr. Piscitelli testified that they were so

 instructed to adopt and implement standards that by definition were not proper for

 the investigation of claims, and that this instruction effected well over a thousand

 claims that they alone handled, and that others were so instructed and affected.

 Among other items, adjusters were so instructed by the FKS text, a subsequent phone

 call, and The Mid-American Online Meeting.




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          134. Among other actions, UPC made it a practice to change field adjuster

 reports without the knowledge of field adjusters to materially misrepresent the

 nature, scope, and scale of damages, which as a matter of practice represented a

 flawed standard and an inherently improper investigation of claims. Each of Mr.

 Buvens, Mr. Fiocati and Mr. Piscitelli testified to such changes taking place as a

 matter of policy.

          135. FUITPA provides that any person who violates any provision may be

 fined up to $40,000 for each willful violation, up to an aggregate amount of $200,000

 for all willful violations arising out of the same action. Fla. Stat. § 626.9521(2).

          136. Each report that was modified by UPC or at UPC’s instruction to add

 false information or to omit material information impacting valuation and denials of

 claims constitutes a separate action under FUITPA.

          137. FUITPA provides that any remedy under that Act is cumulative to

 rights under the general civil and common law. Fla. Stat. § 626.9631.

          WHEREFORE, SFR demands judgment against UPC for the value of a proper

 and accurate adjustment, all covered losses with interest on overdue payments, costs,

 and attorneys’ fees owed under Florida law including F.S. 627.428 et seq., and other

 and further relief this Court deems just and proper.

     SIXTH CAUSE OF ACTION – VIOLATION OF FLORIDA UNFAIR
    INSURANCE TRADE PRACTICE ACT, FLA STAT. § 626.951 ET SEQ.,
        SPECIFICALLY FLA. STAT. § 626.9541(1)(i) subsection (3)(b)


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                                     (Against UPC)

          138. SFR incorporates by reference allegations 1-64 contained in this

 Complaint, as if fully set forth herein.

          139. Florida’s Unfair Insurance Trade Practices Act (“FUITPA”), Fla. Stat.

 § 626.951 et seq. was enacted to regulate the business of insurance in the state and

 define such practices in the state which constitute unfair methods of competition or

 unfair or deceptive acts or practices, and prohibit such practices. Fla. Stat. §

 626.951(1).

          140. FUITPA defines “person” to mean “any individual, corporation,

 association, partnership, reciprocal exchange, interinsurer, Lloyds insurer, fraternal

 benefit society, or business trust or any entity involved in the business of insurance.”

 Fla. Stat. § 626.9511(1). “Insurance policy” or “insurance contract” means a written

 contract of, or a written agreement for or effecting, insurance, or the certificate

 thereof, by whatever name called, and includes all clauses, riders, endorsements, and

 papers which are a part thereof. Fla. Stat. § 626.9511(2).

          141. UPC is a “person” under the meaning of the statute.

          142. SFR is the assignee-in-interest for each insurance policy for every

 Assignor identified in Exhibit B.




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          143. Florida law permits SFR to enforce all statutory, common law, and

 contractual remedies that would otherwise be available to the policyholder through

 a valid AOB.

          144. FUITPA definition of an unfair method of competition and unfair or

 deceptive acts or practice includes, but is not limited to:

                    (i) Unfair claim settlement practices.—

                                3. Committing or performing with such frequency as to
                          indicate a general business practice any of the following:
                                b. Misrepresenting pertinent facts or insurance policy
                          provisions relating to coverages at issue;


 Fla. Stat. § 626.9541(1)(i).

          145. UPC’s conduct, as described above, meets the definition of an unfair

 method of competition and unfair or deceptive act under Fla. Stat. § 626.9541(1)(i)

 subsection (3)(b).

          146. UPC willfully violated the above provision of FUITPA.

          147. Among other actions, UPC made it a practice to instruct field adjusters

 to modify their reports to materially misrepresent the nature, scope, and scale of

 damages, which as a matter of practice represented a misrepresentation of pertinent

 facts relating to the coverage at issue under the statute. Mr. Buvens, Mr. Fiocati and

 Mr. Piscitelli testified that this happened as a matter of policy in claims that they

 handled, and the claims that they handled exceeded a thousand. Among other items,

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 adjusters were so instructed by the FKS text, a subsequent phone call, and The Mid-

 American Online Meeting.

          148. Among other actions, UPC also made it a practice to change field

 adjuster reports without the knowledge of field adjusters to materially misrepresent

 the nature, scope, and scale of damages, which as a matter of practice represented a

 misrepresentation of pertinent facts relating to the coverage at issue under the statute.

 Mr. Buvens, Mr. Fiocati and Mr. Piscitelli testified that this happened as a matter of

 policy in claims that they handled, and the claims that they handled exceeded a

 thousand, and that others were so instructed and affected. Among other items,

 adjusters were so instructed by the FKS text, a subsequent phone call, and The Mid-

 American Online Meeting.

          149. FUITPA provides that any person who violates any provision may be

 fined up to $40,000 for each willful violation, up to an aggregate amount of $200,000

 for all willful violations arising out of the same action. Fla. Stat. § 626.9521(2).

          150. Each report that was modified by UPC or at UPC’s instruction to add

 false information or to omit material information impacting valuation and denials of

 claims constitutes a separate action under FUITPA.

          151. FUITPA provides that any remedy under that Act is cumulative to

 rights under the general civil and common law. Fla. Stat. § 626.9631.




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          WHEREFORE, SFR demands judgment against UPC for the value of a proper

 and accurate adjustment, all covered losses with interest on overdue payments, costs,

 and attorneys’ fees owed under Florida law including F.S. 627.428 et seq., and other

 and further relief this Court deems just and proper.

    SEVENTH CAUSE OF ACTION – VIOLATION OF FLORIDA UNFAIR
    INSURANCE TRADE PRACTICE ACT, FLA STAT. § 626.951 ET SEQ.
        SPECIFICALLY FLA. STAT. § 626.9541(1)(i) subsection (3)(d)

                                    (Against UPC)

          152. SFR incorporates by reference allegations 1-64 contained in this

 Complaint, as if fully set forth herein.

          153. Florida’s Unfair Insurance Trade Practices Act (“FUITPA”), Fla. Stat.

 § 626.951 et seq. was enacted to regulate the business of insurance in the state and

 define such practices in the state which constitute unfair methods of competition or

 unfair or deceptive acts or practices, and prohibit such practices. Fla. Stat. §

 626.951(1).

          154. FUITPA defines “person” to mean “any individual, corporation,

 association, partnership, reciprocal exchange, interinsurer, Lloyds insurer, fraternal

 benefit society, or business trust or any entity involved in the business of insurance.”

 Fla. Stat. § 626.9511(1). “Insurance policy” or “insurance contract” means a written

 contract of, or a written agreement for or effecting, insurance, or the certificate




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 thereof, by whatever name called, and includes all clauses, riders, endorsements, and

 papers which are a part thereof. Fla. Stat. § 626.9511(2).

          155. UPC is a “person” under the meaning of the statute.

          156. SFR is the assignee-in-interest for each insurance policy for every

 Assignor identified in Exhibit B.

          157. Florida law permits SFR to enforce all statutory, common law, and

 contractual remedies that would otherwise be available to the policyholder through

 a valid AOB.

          158. FUITPA definition of an unfair method of competition and unfair or

 deceptive acts or practice includes, but is not limited to:

                    (i) Unfair claim settlement practices.—

                                3. Committing or performing with such frequency as to
                          indicate a general business practice any of the following:
                                 d.   Denying claims without conducting reasonable
                          investigations based upon available information;

 Fla. Stat. § 626.9541(1)(i).

          159. UPC’s conduct, as described above, meets the definition of an unfair

 method of competition and unfair or deceptive act under Fla. Stat. § 626.9541(1)(i)

 subsection (3)(d).

          160. UPC willfully violated the above provision of FUITPA.




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          161. Among other actions, UPC made it a practice to instruct field adjusters

 to modify their reports to materially misrepresent the nature, scope, and scale of

 damages (including by omission) so as to deny claims, which as a matter of practice

 represented a denial of claims without the conduct of reasonable investigation based

 upon available information. Mr. Buvens, Mr. Fiocati, and Mr. Piscitelli testified that

 this happened as a matter of policy in claims that they handled, and the claims that

 they handled exceeded a thousand. Among other items, adjusters were so instructed

 by the FKS text, a subsequent phone call, and The Mid-American Online Meeting.

          162. Among other actions, UPC also made it a practice to change field

 adjuster reports without the knowledge of field adjusters to materially misrepresent

 the nature, scope, and scale of damages (including by omission) so as to deny claims,

 which as a matter of practice represented a denial of claims without the conduct of

 reasonable investigation based upon available information. Mr. Buvens, Mr. Fiocati

 and Mr. Piscitelli testified that this happened as a matter of policy in claims that they

 handled, and the claims that they handled exceeded a thousand. Among other items,

 adjusters were so instructed by the FKS text, a subsequent phone call, and The Mid-

 American Online Meeting.

          163. FUITPA provides that any person who violates any provision may be

 fined up to $40,000 for each willful violation, up to an aggregate amount of $200,000

 for all willful violations arising out of the same action. Fla. Stat. § 626.9521(2).


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          164. Each report that was modified by UPC or at UPC’s instruction to add

 false information or to omit material information impacting valuation and denials of

 claims constitutes a separate action under FUITPA.

          165. FUITPA provides that any remedy under that Act is cumulative to

 rights under the general civil and common law. Fla. Stat. § 626.9631.

          WHEREFORE, SFR demands judgment against UPC for the value of a proper

 and accurate adjustment, all covered losses with interest on overdue payments, costs,

 and attorneys’ fees owed under Florida law including F.S. 627.428 et seq., and other

 and further relief this Court deems just and proper.

     EIGHTH CAUSE OF ACTION – VIOLATION OF FLORIDA UNFAIR
    INSURANCE TRADE PRACTICE ACT, FLA STAT. § 626.951 ET SEQ.,
        SPECIFICALLY FLA. STAT. § 626.9541(1)(i) subsection (3)(f)

                                    (Against UPC)

          166. SFR incorporates by reference allegations 1-64 contained in this

 Complaint, as if fully set forth herein.

          167. Florida’s Unfair Insurance Trade Practices Act (“FUITPA”), Fla. Stat.

 § 626.951 et seq. was enacted to regulate the business of insurance in the state and

 define such practices in the state which constitute unfair methods of competition or

 unfair or deceptive acts or practices, and prohibit such practices. Fla. Stat. §

 626.951(1).




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          168. FUITPA defines “person” to mean “any individual, corporation,

 association, partnership, reciprocal exchange, interinsurer, Lloyds insurer, fraternal

 benefit society, or business trust or any entity involved in the business of insurance.”

 Fla. Stat. § 626.9511(1). “Insurance policy” or “insurance contract” means a written

 contract of, or a written agreement for or effecting, insurance, or the certificate

 thereof, by whatever name called, and includes all clauses, riders, endorsements, and

 papers which are a part thereof. Fla. Stat. § 626.9511(2).

          169. UPC is a “person” under the meaning of the statute.

          170. SFR is the assignee-in-interest for each insurance policy for every

 Assignor identified in Exhibit B.

          171. Florida law permits SFR to enforce all statutory, common law, and

 contractual remedies that would otherwise be available to the policyholder through

 a valid AOB.

          172. FUITPA definition of an unfair method of competition and unfair or

 deceptive acts or practice includes, but is not limited to:

                    (i) Unfair claim settlement practices.—

                                3. Committing or performing with such frequency as to
                          indicate a general business practice any of the following:

                                 f. Failing to promptly provide a reasonable explanation in
                          writing to the insured of the basis in the insurance policy, in
                          relation to the facts or applicable law, for denial of a claim or for
                          the offer of a compromise settlement;


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 Fla. Stat. § 626.9541(1)(i).

          173. UPC’s conduct, as described above, meets the definition of an unfair

 method of competition and unfair or deceptive act under Fla. Stat. § 626.9541(1)(i)

 subsection (3)(f).

          174. UPC willfully violated the above provision of FUITPA.

          175. Among other actions, UPC made it a practice to instruct field adjusters

 to modify their reports to materially misrepresent the nature, scope, and scale of

 damages (including by omission) so as to manufacture a flawed and unreasonable

 explanation for its denial of claims and offers of compromise settlement, which as a

 matter of practice violated the above provision of FUITPA. Mr. Buvens, Mr. Fiocati

 and Mr. Piscitelli testified that this happened as a matter of policy in claims that they

 handled, and the claims that they handled exceeded a thousand, and that others were

 so instructed and affected.

          176. Among other actions, UPC also made it a practice to change field

 adjuster reports without the knowledge of field adjusters to materially misrepresent

 the nature, scope, and scale of damages (including by omission) so as to manufacture

 a flawed and unreasonable explanation for its denial of claims and offers of

 compromise settlement, which as a matter of practice violated the above provision

 of FUITPA. Mr. Buvens, Mr. Fiocati and Mr. Piscitelli testified that this happened




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 as a matter of policy in claims that they handled, and the claims that they handled

 exceeded a thousand, and that others were so instructed and affected.

          177. FUITPA provides that any person who violates any provision may be

 fined up to $40,000 for each willful violation, up to an aggregate amount of $200,000

 for all willful violations arising out of the same action. Fla. Stat. § 626.9521(2).

          178. Each report that was modified by UPC or at UPC’s instruction to add

 false information or to omit material information impacting valuation and denials of

 claims constitutes a separate action under FUITPA.

          179. FUITPA provides that any remedy under that Act is cumulative to

 rights under the general civil and common law. Fla. Stat. § 626.9631.

          WHEREFORE, SFR demands judgment against UPC for the value of a proper

 and accurate adjustment, all covered losses with interest on overdue payments, costs,

 and attorneys’ fees owed under Florida law including F.S. 627.428 et seq., and other

 and further relief this Court deems just and proper.

                            DEMAND FOR A JURY TRIAL

          Plaintiff SFR hereby demands a jury trial on all issues so triable.

                                                  Respectfully submitted,

                                                  LAW OFFICE OF ROBERT N.
                                                  PELIER, P.A

                                                  By: /s/ Robert N. Pelier
                                                     Robert N. Pelier, Esq.
                                                     F.B.N.: 0998834

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